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                                                                                    AUG 2 5 2022
                                 UNITED ST ATES DISTRICT COUR
                                                                                    ANGELA E. NOBLE
                                 SOUTHERN DISTRICT OF FLORID                       CLERK U.S. 01ST. CT
                                                                                   S.D. OF FLA. -W.P.B.

                                       CASE NO. 22-MJ-8332-BER

       IN RE SEALED SEARCH WARRANT
                                                                                UNDERSEAL
       _ _ _ _ _ _ _ _ _ _ _ _ _!


       UNITED STATES' SEALED, EX PARTEMEMORANDVM OF LAW REGARDING
                            PROPOSED REDACTIONS


              Pursuant to this Court's August 18 and August 22, 2022 orders, the United States

       respectfully submits this sealed, ex parte memorandum of law setting forth the justifications

       for its proposed redactions to the affidavit submitted to the Court on August 5, 2022, in

      · support of the government's application for a search warrant at a property of former President

       Donald J. Trump.     See Docket Entries ("D.E. ") 1, 74, 80. For the reasons explained below,

       the materials the government marked for redaction in the attached document must remain

       sealed to protect the safety and privacy of a significant number of civilian witnesses, in

      . addition to law enforcement personnel, as well as to protect the integrity of the ongoing

       investigation and to avoid disclosure of grand jury material in violation of the Federal Rules

       of Criminal Procedure.

                                          Procedural Background

              On August 8, 2022, the Department of Justice executed a search warrant, issued by

       this Court upon the requisite finding of probable cause, at the premises located at I 100 S.

       Ocean Blvd., Palm Beach, Florida 33480, a property of former President Trump. Given the

       circumstances presented in this matter and the public interest in transparency, and in the wake
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              The Court found that disclosure of the Affidavit would likely result in witnesses being

       "quickly and broadly identified over social media and other communication channels, which

      could lead to them being harassed and intimidated.''             Id. at 9.   The Court gave "great

      weight" to "the significant likelihood that unsealing the Affidavit would harm legitimate

      privacy interests," with disclosures potentially serving to "impede the ongoing investigation

     . through obstruction of justice and witness intimidation or retaliation." Id. at 9-10. And the

      Court found that the Affidavit contains "critically important and detailed investigative facts:

      highly sensitive information about witnesses . . . ; specific investigative techniques; and

       information required to be kept under seal pursuant to Federal Rule of Criminal Procedure

      6(e)," the disclosure of which "would detrimentally affect this investigation and future

      investigations." Id. at I 0. However, noting that the warrant involves "matters of significant

      public concern," id., the Court concluded that "the present record'' does not "justif1y] keeping

      the entire Affidavit under seal," id. at 13 (emphasis added).

                                                    Argument

                             The Redacted Materials Must Remain Under Seal

              As the Court has found, "(p]rotecting the integrity and secrecy of an ongoing criminal

      investigation is a well-recognized compelling governmental interest." D .E. 80 at 6 (citing,

       interalia, United States v. Valenti, 986 F.2d 708, 714 (11th Cir. 1993)).      Indeed, "[a]t the pre-

     . indictment stage, the Government's need to conceal the scope and direction of its

       investigation, as well as its investigative sources and methods, is at its zenith."       D.E. 80 at

       7-8 (citing Blalock v. United States, 844 F.2d 1546, 1550 n.5 (I I th Cir. I 988)).   Counsel for the

       Intervenors have also acknowledged that certain portions of the affidavit must likely remain

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      of the former President's public confirmation of the search and his representatives' public

      characterizations of the materials sought, the government moved to unseal the search

      wanant, its attachments, and the Property Receipt summarizing materials seized, and this

      Court granted the government's motion. D.E. 18, 41.

             A number of news media organizations and other entities (the "Intervenors") have

      filed motions to unseal these and other materials associated with the search warrant, including

      the affidavit. The government submitted its omnibus response to those motions on August

     · 15, 2022. D.E. 59. The Court conducted a hearing on August 18, 2022, at the conclusion

      of which the Court directed the government to file under seal its proposed redactions to the

      affidavit and a legal memorandum setting forth the justifications for the proposed redactions. 1

      D.E. 74.

             In a subsequent order, the Court noted that the government "has met its burden of

      showing good cause/a compelling interest that overrides any public interest in unsealing the

      full contents of the Affidavit." D.E. 80 at 12. In that order, the Court observed that the

      obstruction and threat concerns raised by the government were "not hypothetical in this

      case." Id. at 8. In particular, the Court cited its prior finding of probable cause that a statute

      prohibiting obstruction of justice has been violated, and further relied upon the post-search

      increase in specific threats of violence to identified FBI agents, overall violent threats to FBI

      personnel, and the armed attack on the FBI office in Cincinnati. Id. at 8-9.



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         Based on the government's and the Intervenors' agreement that certain additional
       documents (namely, the government's motion to seal, the Court's sealing order, and two
       cover sheets) could be publicly released with minor redactions to protect government
       personnel, the Court also ordered those documents released. D.E. 74.
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       under seal to protect information such as witness identities and investigative sources and

       methods.    Hrg. Tr. at 35.

              The government has carefully reviewed the affidavit and has identified five categories

       of information that must remain under seal in order to protect the safety of multiple civilian

       witnesses whose information was included throughout the affidavit and contributed to the

       finding of probable cause, as well as the integrity of the ongoing investigation.        In the

       attached chart, the government has identified each category that applies to information the

       government proposes to redact.      Some information falls within more than one category.

       The categories, described further below, are (1) information from a broad range of civilian

       witnesses who may be subject to "witness intimidation or retaliation," D.E. 80 at 9; (2)

       information regarding investigative avenues and techniques that could provide a roadmap for

      · potential ways to obstruct the investigation, id. at 9-1 0; (3) information whose disclosure is

       prohibited under Rule 6(e) of the Federal Rules of Criminal Procedure ("Rule 6(e)"), such as

       grand jury subpoenas, testimony, and related material, id. at 10; (4) information whose

       disclosure could risk the safety of law enforcement personnel, id. at 9; and (5) information

      . whose disclosure could harm "legitimate privacy interests" of third parties, id.

           1. Witness Information

              First and foremost, the government must protect the identity of witnesses at this stage

       of the investigation to ensure their safety. As this Court noted, if information relating to

       witnesses were disclosed, "it is likely that even witnesses who are not expressly named in the

       Affidavit would be quickly and broadly identified over social media and other communication

       channels, which could lead to them being harassed and intimidated." D.E. 80 at 9.       See also,


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       e.g., Douglas Oil Co. ofCal. v. Petrol Stops Nw., 441 U.S. 211, 219 (1979) (describing the risk that

       "prospective witnesses would be hesitant to come forward voluntarily, knowing that those

       against whom they testify would be aware of that testimony"); United Stares v. Steinger, 626 F.




                                                                             -
       Supp. 2d 123 l, 1235 (S.D. Fla. 2009) (similar).



                                                                                          Information in

       the affidavit could be used to identify many, if not all, of these witnesses.    For   example, ■




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                                                                                              -
      -       If witnesses' identities are exposed, they could be subjected to harms including

       retaliation, intimidation, or harassment, and even threats to their physical safety.   As the

      · Court has already noted, "these concerns are not hypothetical in this case."   D.E. 80 at 8.




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                                       Meanwhile, FBI agents who have been publicly identified in

      connection with this investigation have received repeated threats of violence from members

     · of the public.   Exposure of witnesses' identities would likely erode their trust in the

      government's investigation, and it would almost certainly chill other potential witnesses from

      coming forward in this investigation and others.

          2. Investigation "Road Map"

             As Judge Jordan explained in Steinger, if details about an ongoing investigation are

      prematurely disclosed, such disclosures "would compromise the investigation and might also

     . lead to the destruction of evidence."   626 F. Supp. 2d at 1235 (citing Douglas Oil Co., 441

      U.S. at 218-19); see also, e.g., Patel v. United States, No. 9:l 9-MC-81181, 2019 WL 4251269, at

      *5 (S.D. Fla. Sept. 9, 20 I 9) (agreeing with the government that disclosure of information

      "would severely prejudice" its investigation, including by "prematurely disclosing its scope

      and direction, subjects, and potential witnesses, and could result in the destruction of

      evidence"); D.E. 80 at 9-10 (disclosure of investigative "sources and methods" "would

      detrimentally affect this investigation and future investigations").

             Although the public is now aware that the government executed a search warrant at

      the premises owned by the former President and seized documents marked as classified, the

      affidavit is replete with further details that would provide a roadmap for anyone intent on

      obstructing the investigation.    "Maximizing the Government's access to untainted facts

     · increases its ability to make a fully-informed prosecutive decision."   D .E. 80 at 8.

             For example,


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       Revealing this information could thus adversely impact the government's pursuit ofrelevant

       evidence. 2

              In addition, revealing this information could severely disadvantage the government as




                                                                         ---
       it seeks further information from witnesses.    For example,




       2
          Additionally, the Court has noted that disclosure of certain information pertaining to
       physical aspects of the premises could negatively affect the Secret Service's ability to carry out
       its protective functions. D.E. 80 at 10. Although the Department of Justice is not in a
       position at this time to assess those potential harms, the information in the affidavit describing
       physical aspects of the premises fits within the category of information whose disclosure
       would provide a "road map" of investigative techniques and avenues,

                                                       8
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             These concerns arc particularly compelling in this case.    As explained in the affidavit,




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       short, the government has well-founded concerns that steps may be taken to frustrate or

      otherwise interfere with this investigation if facts in the affidavit were prematurely disclosed.


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          3. Rule 6(e)

             The affidavit contains certain information that must be kept under seal pursuant to

      Federal Rule of Criminal Procedure 6(e) because it may disclose "a matter occurring before

      the grand jury."    Although "Rule 6(e) does not draw a veil of secrecy over all matters

      occurring in the world that happen to be investigated by a grand jury," it bars disclosure of

      information that "would reveal something about the grand jury's identity, investigation, or

      deliberation."   Labow v. U.S. Dep't of Justice, 831 F.3d 523, 529 (D.C. Cir. 2016) (internal

                              3
     · quotations omitted).



              ...
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     ·-  4. Safety of Law Enforcement Personnel

             Minor but important redactions are necessary to protect the safety oflaw enforcement




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     • personnel.        See D.E. 80 at 3 (redactions in other materials "are appropriate to protect the

      identity and personal safety of' an investigative agent).            Specifically, information in the

     . affidavit that would identify the affiant, such as by name or through biographical information,

      see Aff.   i1 4,   should remain under seal.




          5. Privacy Interests                         ·-
                 As the Supreme Court has long recognized, premature disclosure of investigative

      information creates a risk that "persons who are accused but exonerated" may be "held up to

      public ridicule."        Douglas Oil Co., 441 U.S. at 219; see also, e.g., Steinger, 626 F. Supp. 2d at

      1235 (disclosure of names of subjects and of matters being investigated "could have

      devastating consequences for those persons who have been cleared of any misconduct, as well

      as for those still under investigation"). 4          The government recognizes that the former

      President has spoken publicly about this investigation and has said in a public statement that

     · he wishes for the affidavit to be disclosed in its entirety, although the Court has noted that

      "[nleither Former President Trump nor anyone else purporting to be the owner of the

      Premises has filed a pleading taking a position on the Intervenors' Motion to Unseal. " 5         D.E.


       " Protecting the identities of uncharged individuals is also consistent with government
     . counsel's professional responsibilities. See Justice Manual § 9-27.760 ("Limitation on
       Identifying Uncharged Third-Parties Publicly").
      5
        See Perry Stein & Josh Dawsey, "Trump Wants Mar-a-Lago Affidavit Released, As Some
      Aides     Ponder     Risk,"  Washiniton    Post   (Aug. 17,   2022),    available  at
      https://ww\''      ·}             · ·    .      · I      1          -   ·--.

      affidavit/.
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         80 at 1-2.   Nevertheless, the affidavit contains additional information about others that could

         harm these individuals' privacy and reputational interests if disclosed.

                 For example,




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                                                    Conclusion

                For the reasons stated herein, the Court should maintain under seal the text the

         government has marked for redaction. The government defers to the Court to determine

         whether the redactions are "so extensive that" release of the remainder of the affidavit would

         ··result in a meaningless disclosure." D.E. 80 at 12. Should the Court order disclosure of a

         redacted version of the affidavit, and if the Court agrees with the government's proposed

         redactions, the government will submit a final version of the redacted affidavit for public

         release.

                 In the interest of transparency, as well as the principle that limitations on public access




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      to judicial proceedings should be "narrowly tailored," Globe Newspaper Co. v. Superior Court,

      457 U.S. 596, 607 (1982), the government respectfully submits that certain portions of this

      filing may be unsealed, including the introductory segment up through the first two

      paragraphs in the Argument section on page 4, as well as certain text in the sections that

      follow describing relevant provisions of law. The government will submit a version of this

      filing that identifies the portions that can be publicly filed, along with its proposed redactions,

      forthwith. And with the Court's permission, the government will confer with counsel for the

      former President as to whether counsel or the former President has any objection to unsealing

      the letter from counsel included as Exhibit 1 to the affidavit. Absent any such objection, the

     . government supports unsealing the letter.

                                                           Respectfully submitted,


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